     Case 23-90064-MM           Filed 02/23/24         Entered 02/23/24 09:11:38         Doc 20-1       Pg. 1 of 1




1                                                 PROOF OF SERVICE
2            I, Sandra Young, hereby declare as follows:
3            I am employed in the City of La Jolla, County of San Diego, California. I am over the age of 18 years
      and not a party to the within action; and I am employed in the County of San Diego, California, within which
4     county the subject mailing occurred. My business address is 5656 La Jolla Blvd., La Jolla, California 92037.
      On February 23, 2024, I served a true and correct copy of the following document(s):
5
      TRUSTEE’S STATUS REPORT
6
      on the parties in this action as follows:
7
      X       by CM/ECF NOTICE OF ELECTRONIC FILING by causing such document(s) listed above to be
8
      served through this Court’s electronic transmission facilities via the Notice of Electronic (NEF) and hyperlink,
9     to the parties and/or counsel who are determined this date, February 23, 2024, to be registered CM/ECF Users
      set forth below as identified on the service list obtained from this Court on the Electronic Mail Notice list.
10
      William J. Freed, Attorney for Plaintiff wjf@freedlawoffice.com
11    Samuel Kelsall, Attorney for Defendant kelsallassociates@gmail.com, rsorahan@kelsallassociates.net
     All other interested parties in this action that are not a registered ECF User are served as follows:
12

13            by U.S. FIRST CLASS MAIL SERVICE, POSTAGE PREPAID by placing each document in a
      sealed, envelope with postage thereon fully prepaid, for collection and mailing at Financial Law Group, La
14    Jolla, California, following ordinary business practices and addressed as set forth below. I am familiar with the
      practice of Financial Law Group for collection for U.S. mail, said practice being that in the ordinary course of
15    business, correspondence is picked up at our office the same day as it is placed for collection. I am aware that
      on motion of the party served, service is presumed invalid if postal cancellation date or postage meter date is
16
      more than one day after date of deposit for mailing affidavit.
17

18    None

19           I declare under penalty of perjury under the laws of the United States that the foregoing is true and

20    correct.
             Executed February 23, 2024, at La Jolla, California.
21
                                                                         /s/ Sandra Young
22                                                                       Sandra Young

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                                                   1                   IN RE SAMUEL KELSALL V, CASE NO. 23-01962-MM7
                                                                                                     Adv 23-90064-MM
                                                                                                        Proof of Service
